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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


  DIGITAL VERIFICATION SYSTEMS,
  LLC,
                                                            Case No. 1:23-cv-00458-CJB
                 Plaintiff
                                                            JURY TRIAL DEMANDED
                 v.
                                                            PATENT CASE
  FORMASSEMBLY INC.,

                 Defendant.



 JOINT STIPULATION OF DISMISSAL OF ALL CLAIMS AND COUNTERCLAIMS


         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Digital Verification

Systems, LLC (“Plaintiff”) and Defendant FormAssembly Inc. (“Defendant”) hereby stipulate and

agree:

                1.      All claims asserted by Plaintiff in the above-captioned action are hereby

dismissed WITH PREJUDICE.

                2.      All counterclaims asserted by Defendant in the above-captioned action are

hereby dismissed WITHOUT PREJUDICE.

                3.      Each party shall bear its own attorneys’ fees, costs, and expenses in

connection with this action.
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Dated: August 15, 2023

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      IT IS SO ORDERED this ___ day of August, 2023.



                                 ______________________________________
                                 The Honorable Christopher J. Burke
